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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF PENNSYLVANIA

‘William F., a minor, by and CIVIL ACTION NO. 09-CV-14
through his parents William F. and :
Yolanda W.,

and

William F. and Yolanda W., adults
Individually & on their own. behalf,

Plaintiffs : JURY TRIAL DEMANDED
vs.
Reading School District
and
Kidspeace, Inc.,
Defendants

ANSWER OF DEFENDANT, KIDSPEACE, INC. TO PLAINTIFFS’ COMPLAINT

I. Preliminary Statement

1. After a reasonable investigation, answering defendant is without sufficient
information or knowledge to form a belief as to the truth or falsity of the allegations contained
in this paragraph. Proof of same is hereby demanded at the time of trial.

2. Denied. The allegations of this paragraph constitute legal conclusions which will
be deemed to be denied without further response.

3. Denied. After a reasonable investigation, answering defendant is without
sufficient information or knowledge to form a belief as to the truth or falsity of the allegations

contained in this paragraph. Proof of same is hereby demanded at the time of trial.
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4. Admitted in part, denied in part. It is admitted that answering defendant,
provides services to address the behavioral and mental health needs of children, preadolescents,
and teens, It is denied that the District contracted with answering defendant. The remaining
allegations of this paragraph are denied due to the fact that after a reasonable investigation,
answering defendant is without sufficient information or knowledge to form a belief as to the
truth or falsity of the allegations contained in this paragraph. Proof of same is hereby
demanded at time of trial.

5. Denied. The allegations of this paragraph are specifically denied by answering
defendant. By way of further answer, the allegations of this paragraph constitute legal
conclusions which will be deemed to be denied without further response.

6. Denied. The allegations of this paragraph constitute legal conclusions which will
be deemed to be denied without further response.

I. Jurisdiction and Venue

7. Denied. The allegations of this paragraph constitute legal conclusions which will
be deemed to be denied without further response.

3. Denied. The allegations of this paragraph constitute legal conclusions which will
be deemed to be denied without further response.

Il. Parties

9. Denied. After a reasonable investigation, answering defendant is witheut

sufficient information or knowledge to form a belief as to the truth or falsity of the allegations

contained in this paragraph. Proof of same is hereby demanded at the time of trial.
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10. Denied, To the extent the allegations of this paragraph constitute legal
conclusions, they are deemed to be denied without further response pursuant. To the extent the
allegations of this paragraph constitute factual averments, they are deemed to be denied due to
the fact that after reasonable investigation, answering defendant is without sufficient
information or knowledge to form a belief as to the truth or falsity of those allegations. Proof of
same is hereby demanded at the time of trial.

11. Admitted in part, denied in part. It is denied that the District contracted with
answering defendant. It is denied that answering defendant is a recipient of federal funds. It is
denied that the corporate headquarters of answering defendant is located at 5300 KidsPeace
Drive, Orefield, PA 18069-9101. The remaining allegations of this paragraph are admitted.

III. Additional Facts Leading to Liability

12. Denied. After a reasonable investigation, answering defendant is without
sufficient information or knowledge to form a belief as to the truth or falsity of the allegations
contained in this paragraph. Proof of same is hereby demanded at the time of trial.

13. Admitted.

14. Denied. After a reasonable investigation, answering defendant is without
sufficient information or knowledge to form a belief as to the truth or falsity of the allegations
contained in this paragraph. Proof of same is hereby demanded at the time of trial.

15. Denied. The allegations of this paragraph constitute legal conclusions which will
be deemed to be denied without further response.

16. Admitted in part, denied in part. It is admitted that in October of 2006, William

was placed in a therapeutic residential program run by answering defendant. The remaining

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allegations of this paragraph are denied due to the fact that after a reasonable investigation,
answering defendant is without sufficient information or knowledge to form a belief as to the
truth or falsity of the allegations contained in this paragraph. Proof of same is hereby
demanded at the time of trial.

17. Denied. The allegations of this paragraph constitute legal conclusions which will
be deemed to be denied without further response.

18. Denied. The allegations of this paragraph are specifically denied.

19. Denied. After a reasonable investigation, answering defendant is without
sufficient information or knowledge to form a belief as to the truth or falsity of the allegations
contained in this paragraph. Proof of same is hereby demanded at the time of trial.

20. Denied. After a reasonable investigation, answering defendant is without
sufficient information or knowledge to form a belief as to the truth or falsity of the allegations
contained in this paragraph. Proof of same is hereby demanded at the time of trial.

21. Denied. After a reasonable investigation, answering defendant is without
sufficient information or knowledge to form a belief as to the truth or falsity of the allegations
contained in this paragraph. Proof of same is hereby demanded at the time of trial.

IV. Statutory and Regulatory Background

22. Denied. The allegations of this paragraph constitute legal conclusions which will
be deemed to be denied without further response.

23. Denied. The allegations of this paragraph constitute legal conclusions which will

be deemed to be denied without further response.
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24, Denied. The allegations of this paragraph constitute legal conclusions which will
be deemed to be denied without further response.

25, Denied. The allegations of this paragraph constitute legal conclusions which will
be deemed to be denied without further response.

26. Denied. The allegations of this paragraph constitute legal conclusions which will
be deemed to be denied without further response.

97. Denied. The allegations of this paragraph constitute legal conclusions which will
be deemed to be denied without further response.

98. Denied. The allegations of this paragraph constitute legal conclusions which will
be deemed to be denied without further response.

29. Denied. The allegations of this paragraph constitute legal conclusions which will
be deemed to be denied without further response.

30. Denied. The allegations of this paragraph constitute legal conclusions which will
be deemed to be denied without further response.

31, Denied. The allegations of this paragraph constitute legal conclusions which will
be deemed to be denied without further response.

32. Denied. The allegations of this paragraph constitute legal conclusions which will
be deemed to be denied without further response.

33. Denied. The allegations of this paragraph constitute legal conclusions which will
be deemed to be denied without further response.

34, Denied. The allegations of this paragraph constitute legal conclusions which will
be deemed to be denied without further response.

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COUNT I- CLAIMS BASED UPON IDEA

Plaintiffs against all Defendants

35. Answering defendants incorporate their Answers to paragraphs 1 through 34 of
Plaintiffs’ Complaint above as though they were fully set forth herein at length.

36. Denied. The allegations of this paragraph constitute legal conclusions which will
be deemed to be denied without further response.

37. Denied. After a reasonable investigation, answering defendant is without
sufficient information or knowledge to form a belief as to the truth or falsity of the allegations
contained in this paragraph. Proof of same is hereby demanded at the time of trial.

COUNT II - CLAIMS BASED UPON SECTION 504 AND THE ADA

Plaintiffs against all Defendants

38. Answering defendants incorporate their Answers to paragraphs 1 through 37 of
Plaintiffs’ Complaint above as though they were fully set forth herein at length.

39. Denied. After a reasonable investigation, answering defendant is without
sufficient information or knowledge to form a belief as to the truth or falsity of the allegations
contained in this paragraph. Proof of same is hereby demanded at the time of trial.

AQ. Denied. The allegations of this paragraph are specifically denied by answering
defendant. By way of further answer, the allegations of this paragraph constitute legal
conclusions which will be deemed to be denied without further response.

41. Denied. After a reasonable investigation, answering defendant is without
sufficient information or knowledge to form a belief as to the truth or falsity of the allegations

contained in this paragraph. Proof of same is hereby demanded at the time of trial.
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42. Denied. It is specifically denied that at any time relevant hereto, answering
defendants excluded William from participation in, denied him the benefits of, or subjected him
to discrimination at his educational program.

43. Denied. It is denied that answering defendant is the recipient of federal financial
assistance.

44. Denied. The allegations of this paragraph constitute legal conclusions which will
be deemed to be denied without further response.

45. Denied. The allegations of this paragraph constitute legal conclusions which will
be deemed to be denied without further response.

46. Denied. The allegations of this paragraph constitute legal conclusions which will
be deemed to be denied without further response.

47. Denied. After a reasonable investigation, answering defendant is without
sufficient information or knowledge to form a belief as to the truth or falsity of the allegations
contained in this paragraph. Proof of same is hereby demanded at the time of trial.

COUNT If] - NEGLIGENCE
Plaintiffs against Defendant Kidspeace

48. Answering defendants incorporate their Answers to paragraphs 1 through 47 of
Plaintiffs’ Complaint above as though they were fully set forth herein at length.

49. Denied. The allegations of this paragraph constitute legal conclusions which will
be deemed to be denied without further response.

50. Denied. The allegations of this paragraph constitute legal conclusions which will

be deemed to be denied without further response.

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51. After a reasonable investigation, answering defendant is without sufficient
information or knowledge to form a belief as to the truth or falsity of the allegations contained
in this paragraph. Proof of same is hereby demanded at the time of trial.

COUNT IV - BREACH OF CONTRACT
Plaintiffs Against All Defendants

52. Answering defendants incorporate their Answers to paragraphs 1 through 51 of
Plaintiffs’ Complaint above as though they were fully set forth herein at length.

53. Denied. The allegations of this paragraph constitute legal conclusions which will
be deemed to be denied without further response.

54. Denied. The allegations of this paragraph constitute legal conclusions which will
be deemed to be denied without further response.

55. Denied. The allegations of this paragraph constitute legal conclusions which will
be deemed to be denied without further response.

56. Denied. After a reasonable investigation, answering defendant is without
sufficient information or knowledge to form a belief as to the truth or falsity of the allegations
contained in this paragraph. Proof of same is hereby demanded at the time of trial.

COUNT V - LOSS OF CONSORTIUM

Plaintiffs William F, (Parent) and Yolanda W. against all Defendants

57. Answering defendants incorporate their Answers to paragraphs 1 through 56 of

Plaintiffs’ Complaint above as though they were fully set forth herein at length.

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58. Denied. After a reasonable investigation, answering defendant is without
sufficient information or knowledge to form a belief as to the truth or falsity of the allegations
contained in this paragraph. Proof of same is hereby demanded at the time of trial.

59. Denied. To the extent the allegations of this paragraph constitute legal
conclusions, they are deemed to be denied without further response pursuant. To the extent the
allegations of this paragraph constitute factual averments, they are deemed to be denied due to
the fact that after reasonable investigation, answering defendant is without sufficient
information or knowledge to form a belief as to the truth or falsity of those allegations. Proof of
same is hereby demanded at the time of trial.

VI. RELIEF REQUESTED

60. Denied. To the extent the allegations of this paragraph constitute legal
conclusions, they are deemed to be denied without further response pursuant. To the extent the
allegations of this paragraph constitute factual averments, they are deemed to be denied due to
the fact that after reasonable investigation, answering defendant is without sufficient
information or knowledge to form a belief as to the truth or falsity of those allegations. Proof of
same is hereby demanded at the time of trial.

WHEREFORE, defendant, Kidspeace, Inc., denies that it is liable to plaintiffs in any sum
of money and demands judgment in its favor.

FIRST AFFIRMATIVE DEFENSE
Plaintiffs’ Complaint fails to state any claims upon which relief may be granted against

answering defendant.

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SECOND AFFIRMATIVE DEFENSE
Plaintiffs lack standing to bring some, if not all, of their alleged claims.
THIRD AFFIRMATIVE DEFENSE
Plaintiffs’ claims are barred by the applicable statute of limitations.
FOURTH AFFIRMATIVE DEFENSE
Any injuries and/or damages claimed to have been suffered by the plaintiffs were not
caused by any action and/or inaction on the part of answering defendant.
FIFTH AFFIRMATIVE DEFENSE
Plaintiffs’ claims are or may be barred by the defense of consent.
SIXTH AFFIRMATIVE DEFENSE
Plaintiffs’ claims are or may be barred by the defense of justification.
SEVENTH AFFIRMATIVE DEFENSE
It is averred that any injuries and/or damages suffered by the plaintiffs were caused
and/or contributed to by forces not under the control of answering defendant.

EIGHT AFFIRMATIVE DEFENSE

Defendant, Kidspeace, Inc., is entitled to all defenses available under IDEA, Section 504,
the ADA, and Pennsylvania statutory law.
NINTH AFFIRMATIVE DEFENSE
Plaintiffs’ claims are barred and/or limited by the terms and provisions of the
Pennsylvania Mental Health Procedures Act, 50 P.S. §7101 et. seq, and the decisions of the

Courts of the Commonweaith of Pennsylvania pertaining thereto..

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NINTH AFFIRMATIVE DEFENSE
Answering Defendant was not negligent with respect to Plaintiff in any manner.
TENTH AFFIRMATIVE DEFENSE
Answering defendants are entitled to absolute and/or qualified immumity from suit from
the claims of the plaintiff.
ELEVENTH AFFIRMATIVE DEFENSE
Plaintiffs have failed to exhaust their administrative remedies.
TWELFTH AFFIRMATIVE DEFENSE
Plaintiffs are not entitled to attorneys fees, costs, and/or any other relief requested in
theiz Complaint.
THIRTEENTH AFFIRMATIVE DEFENSE
Plaintiffs’ claims are barred by the defense of privilege.
FOURTEENTH AFFIRMATIVE DEFENSE
Plaintiffs have not suffered any compensable damages.
FIFTEENTH AFFIRMATIVE DEFENSE
No contracted existed between answering defendant and defendant, Reading School

District.

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WHEREFORE, defendant, Kidspeace, Inc., denies that it is liable to plaintiffs in any sum.

of money and demands judgment in its favor.

MCCUMBER, DANIELS, BUNTZ, HARTIG
AND PUIG, P.A.

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Patrick Healey, fs4uire

Attorney ID# 63155

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CERTIFICATE OF SERVICE

Patrick J. Healey, Esquire, hereby states that a true and correct copy of the within

Answer to Plaintiffs’ Complaint was sent to counsel listed below by United States Mail, Postage

Pre-Paid and via e-mail through the Court’s ECF filing system:

Dennis McAndrews, Esquire
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Peggy M. Morcom, Esquire
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DATE: April 7, 2009 (Lg

Patrick J. H&@ity, Esquire

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